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                         IN THE UNITED STATES DISTRICT COURT                                            If^
                                                                             b
                        FOR THE EASTERN DISTRICT OF VIRGINIA                        JUN 1 3 2019
                                                                                                         \!j
                                     RICHMOND DIVISION                          CLERK, U.S. DISTRICT COURT
                                                                                      RICHMOND. VA




UNITED STATES OF AMERICA

                                                         CASE NO.      3:19CR00014-7REP)


GEORGE W. WYCHE,
                       Defendant.



                                             ORDER


       This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding theMagistrate Judge's acceptance of the Defendant's plea of guilty to

specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding conducted by

the Magistrate Judge with the consent of the Defendant and counsel. It appearing that the
Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant was given

noticeof the right to file specific objections to the report and recommendation that has been

submitted as a result of the proceeding; and it further appearing thatno objection hasbeen asserted

within the prescribed time period, it is hereby

       ORDERED that the report andrecommendation of theMagistrate Judge is ADOPTED and

the Defendant is found guilty of Count One of the Indictment.




                                                              /s/
                                                     Robert E. Payne
                                                     Senior United States District Judge

Dated: June^^ , 2019
